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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF KENTUCKY

TAMMY VOILES,                                 §
                                              §
               Plaintiff,                     §    Civil Action No. 3:16-cv-00654-JHM-CHL
                                              §
               v.                             §
                                              §
AMERICAN INTERCONTINENTAL                     §
UNIVERSITY,                                   §
                                              §
               Defendant.                     §
                                              §


                                 NOTICE OF SETTLEMENT

       TO THE CLERK:

NOTICE IS HEREBY GIVEN that the parties in the above-captioned case have reached

settlement. The parties anticipate filing a stipulation of dismissal of this action with prejudice

pursuant to Fed. R. Civ. P. 41 (a) within sixty (60) days.



                                              RESPECTFULLY SUBMITTED,

  DATED: August 25, 2017
                                             By: /s/ Joseph C. Hoeffel
                                                 Joseph C. Hoeffel, Esq.
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Case 3:16-cv-00654-JHM-CHL Document 17 Filed 08/25/17 Page 2 of 2 PageID #: 52




                               CERTIFICATE OF SERVICE

              I, Joseph C. Hoeffel, Esquire, do certify that I served a true and correct copy of

the Notice of Settlement in the above-captioned matter, upon the following via CM/ECF system:

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Dated: August 25, 2017                     By: /s/ Joseph C. Hoeffel
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